Case:17-03283-LTS
 Case:17-03283-LTS Doc#:9159
                    Doc#:8818-3  Filed:11/14/19   Entered:11/14/19
                                     Filed:10/07/19                 11:30:04
                                                       Entered:10/07/19  11:47:11 Desc:  Main
                                                                                      Desc:
                               Document       Page2 1ofof4 4
                                 Exhibit 3 Page
  *THIS NOTICE REQUIRES ACTION ON OR BEFORE [insert              date that18,
                                                             NOVEMBER      is 40 days from
                                                                              2019*
                  date of entry of order granting procedures motion]*

                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO
 ---------------------------------------------------------------------- X
                                                                        :
 In re:                                                                 :
                                                                        :
 THE FINANCIAL OVERSIGHT AND                                            : PROMESA
 MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                        :
                   as representative of                                 : Case No. 17-BK-3283 (LTS)
                                                                        :
 THE COMMONWEALTH OF PUERTO RICO et al.,                                : (Jointly Administered)
                                                                        :
                   Debtors.1                                            :
 ---------------------------------------------------------------------- X
                                                                        :
 In re:                                                                 :
                                                                        :
 THE FINANCIAL OVERSIGHT AND                                            : PROMESA
 MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                        :
                   as representative of                                 : Case No. 17-BK-3566 (LTS)
                                                                        :
 THE EMPLOYEES RETIREMENT SYSTEM OF THE :
 GOVERNMENT OF THE COMMONWEALTH OF                                      :
 PUERTO RICO,                                                           :
                                                                        :
                   Debtor.                                              :
 ---------------------------------------------------------------------- X

                        NOTICE OF PARTICIPATION IN LITIGATION
                          OF OBJECTIONS TO ERS BOND CLAIMS


 1
     The Debtors in these Title III cases, along with each Debtor’s respective Title III case
     number and the last four (4) digits of each Debtor’s federal tax identification number, as
     applicable, are the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy
     Case No. 17-BK-3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
     Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS))
     (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation
     Authority (“HTA”) (Bankruptcy Case No. 17-BK-3567 (LTS)) (Last Four Digits of Federal
     Tax ID: 3808); (iv) Employees Retirement System of the Government of the Commonwealth
     of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last Four Digits of
     Federal Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”)
     (Bankruptcy Case No. 17-BK-4780 (LTS)) (Last Four Digits of Federal Tax ID: 3747) (Title
     III case numbers are listed as Bankruptcy Case numbers due to software limitations).
Case:17-03283-LTS
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                                                                                   Desc:
                                Document      Page3 2ofof4 4
                                  Exhibit 3 Page
   *THIS NOTICE REQUIRES ACTION ON OR BEFORE [insert date that is 40 days from
                   date of entry
 *THIS NOTICE REQUIRES           of order
                            ACTION     ONgranting procedures
                                           OR BEFORE         motion]* 18, 2019*
                                                           NOVEMBER
         This Notice of Participation must be served and filed no later than [insert date that is forty
 days from entry of order] in accordance with the instructions set forth at the end of this document.

          Absent permission granted by the District Court upon a showing of good cause, any party
 that has notice of the Initial Objection Procedures but (a) fails to file a Notice of Participation or (b)
 files a Notice of Participation after [insert date that is 40 days from entry of the Order], 2019, shall be
 prohibited from filing separate pleadings with respect to the Claim Objections (as defined in the
 Initial Objection Procedures), including filing any Additional Claim Objections (as defined in the
 Initial Objection Procedures).

          The party identified below (“Participant”) hereby advises the Official Committee of Unsecured
 Creditors, the Official Committee of Retired Employees of the Commonwealth of Puerto Rico, the
 Financial Oversight and Management Board for Puerto Rico, the Special Claims Committee of the
 Financial Oversight and Management Board for Puerto Rico, and the Puerto Rico Fiscal Agency and
 Financial Advisory Authority that it intends to participate in the litigation of the Claim Objections with
 respect to bonds issued by the Employees Retirement System of the Government of the Commonwealth
 of Puerto Rico in 2008 (the “ERS Bonds”).

          To ensure full participation rights in the litigation of the Claim Objections, Participant provides
 all of the information requested in items 1 through 3 below:

 1.       Participant’s contact information, including email address, and that of its counsel, if any:

 Participant Name and Contact Information                         Counsel Contact Information (if any)
QUEBRADA BONITA CRL                                              Edgardo Muñoz, PSC
 ___________________________
 Participant Name                                                 ___________________________
                                                                   Firm Name (if applicable)
 Participant Name                                                 Firm Name (if applicable)
MARICARMEN RAMOS DE SZENDREY
 ___________________________
 Contact Person (if Participant is not an individual)
                                                                 Edgardo  Muñoz
                                                                  ___________________________
 Contact Person (if Participant is not an individual)             Contact Person
                                                                   Contact Person
mramos@bufetemrsz.com
 ___________________________                                      ___________________________
 Email Address
 Email Address                                                   emunozPSC@gmail.com
                                                                  Email Address
                                                                   Email Address
 ___________________________
PO BOX 270036                                                     ___________________________
 Address  line11
 Address line                                                     Address line 1
                                                                 364 Lafayette
 ___________________________
 Address line 2                                                   ___________________________
                                                                   Address line 1
 Address line 2                                                   Address line 2
SAN JUAN PR 00928-2836                                           San Juan PR 00917-3113
 ___________________________                                      ___________________________
 City, State Zip Code
 City, State Zip Code                                              City,State
                                                                  City,  StateZip
                                                                               Zip Code
                                                                                  Code
 ___________________________                                      ___________________________
 Country                                                           Country
                                                                  Country

 2.       Participant advises that it (choose one of the following by marking “X” in the appropriate space):

               ______ intends to support the relief requested in the Claim Objections (i.e., Participant
               believes the District Court should find that the ERS Bonds are invalid); or

               _______intends to oppose the relief requested in the Claim Objections (i.e., Participant
               believes that the District Court should find that the ERS Bonds are valid)

                                                        2
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                                  Exhibit 3 Page
   *THIS NOTICE REQUIRES ACTION ON OR BEFORE [insert date that is 40 days from
                   date of entry
 *THIS NOTICE REQUIRES           of order
                            ACTION     ONgranting procedures
                                           OR BEFORE         motion]* 18, 2019*
                                                           NOVEMBER
 3.       If Participant is not a holder of an ERS Bond, it can skip to the end of this Notice and sign. If
          Participant is a holder of one or more ERS Bonds, Participant must respond to the following
          paragraphs (a) and (b) to the best of Participant’s knowledge.

               (a)    Provide the CUSIP Numbers of all ERS Bonds held by Participant:
            29216MAF7


               (b)     Did Participant purchase any of its ERS Bonds in whole or in part on the secondary
                       market? YES or NO (please circle one).

  By: S/ MARICARMEN RAMOS DE SZENDREY
      S/ EDGARDO MUNOZ
 By: ____________________________
       Signature
     Signature
  MARICARMEN RAMOS DE SZENDREY
     EDGARDO
      Print Name MUNOZ
    ____________________________
      Print Name
  PRESIDENT
      Title (if Participant is not an Individual)
     ____________________________
      Title (if Participant is not an Individual)
       November 13, 2019
      ____________________________
      Date

 Instructions for Serving and Filing Notice of Participation: This Notice of Participation must be (i)
 served by email on the Notice Parties set forth in paragraph 8 of the Objection Procedures and (ii) filed
 electronically with the District Court pursuant to its Electronic Case Filing procedures. If the
 Participant is not represented by counsel, the Participant may file a paper copy of this Notice of
 Participation with the District Court by delivering such Notice of Participation by mail or by hand
 addressed to: The Clerk of the United States District Court for the District of Puerto Rico, Room
 150 Federal Building, 150 Carlos Chardon Avenue, San Juan, PR 00918-1767.




                                                       3
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 Pursuant to Paragraph 8 of the Objections Procedures approved by the court (ECF 8018-2) this Notice of
 Participation is being serve (by emails shown) to the following “Notice Parties”:

                                                    Service List


 PAUL HASTINGS LLP                                            PROSKAUER ROSE LLP
 Attn: Luc. A. Despins, Esq.                                  Attn: Martin J. Bienenstock, Esq.
 James R. Bliss, Esq.                                         Brian S. Rosen, Esq.
 Nicholas A. Bassett, Esq.                                    Jeffrey W . Levitan, Esq.
 200 Park Avenue                                              Margaret A. Dale, Esq.
 lucdespins@paulhastings.com                                  mbienenstock@proskauer.com
 jamesbliss@paulhastings.com                                  brosen@proskauer.com
 nicholasbassett@paulhastings.com                             jlevitan@proskauer.com
                                                              mdale@proskauer.com
 CASILLAS, SANTIAGO & TORRES LLC
 Attn: Juan J. Casillas Ayala, Esq.,                          A&S LEGAL STUDIO, PSC.
 Israel Fernández Rodríguez, Esq.,                            Attn: Luis F. del Valle-Emmanuelli, Esq.
 Juan C. Nieves González, Esq.,                               dvelawoffices@gmail.com
 Cristina B. Fernández Niggemann, Esq.
 PO Box 195075                                                BROW N RUDNICK LLP
 San Juan, PR 00919-5075                                      Attn: Edward S. W eisfelner, Esq.
 jcasillas@cstlawpr.com                                       Angela M. Papalaskaris, Esq.
 ifernandez@cstlawpr.com                                      ewisfelner@brownrudnick.com
 jnieves@cstlawpr.com                                         apapalaskaris@brownrudnick.com
 cfernandez@cstlawpr.com
                                                              ESTRELLA, LLC
 JENNER & BLOCK LLP                                           Attn: Alberto Estrella, Esq.
 Attn: Robert Gordon, Esq.                                    Kenneth C. Suria, Esq.
 Catherine Steege, Esq.                                       agestrella@estrellallc.com
 Melissa Root, Esq.                                           ksuria@estrellallc.com
 Landon Raiford, Esq.
 rgordon@jenner.com                                           O’M ELVENY & M YERS LLP
 csteege@jenner.com                                           John J. Rapisardi
 mroot@jenner.com                                             jrapisardi@omm.com
 lraiford@jenner.com                                          Suzzanne Uhland
                                                              Peter Friedman
 BENNAZAR, GARCÍA & M ILLIÁN,                                 7 Times Square
 C.S.P.                                                       New York, NY 10036
 Attn: A.J. Bennazar-Zequeira, Esq.                           (212) 326-2000
 Héctor M. Mayol Kauffman, Esq.
 Francisco del Castillo Orozco, Esq.                          M ARINI PIETRANTONI M UÑIZ LLC
 ajb@bennazar.org                                             Luis C. Marini-Biaggi
 hector.mayol@bbennazar.com                                   imarini@mpmlawpr.com
                                                              250 Ponce de León Ave., Suite 900,
                                                              San Juan, Puerto Rico, 00918
                                                              Tel: (787) 705-2171
                                                              Fax: (787) 936-7494
